Case 5:11-cv-01846-LHK Document 2068-7 Filed 10/20/12 Page 1 of 7

EXHIBIT 138
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Case 5:11-cv-01846-LHK Document 2068-7 Filed 10/20/12 Page 3 of 7

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Case 5:11-cv-01846-LHK Document 2068-7 Filed 10/20/12 Page 4 of 7

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Case 5:11-cv-01846-LHK Document 2068-7 Filed 10/20/12 Page 5 of 7

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